                                                                Case 1:03-md-01570-GBD-SN Document
                                                                                              EXHIBIT A
                                                                                                        9665-2 Filed 03/26/24 Page 1 of 1
                                                                                                                                              Personal Injuries


         Personal Representative                                    Claimant                                                     Claim Information                               Pain & Suffering Damages                               Economic Damages

                                                                                      Nationality                                                    Amendments &                        Prior                                    Date of     Prior
     First   Middle   Last    Suffix      First        Middle      Last     Suffix                9/11 Site   Case            Complaint                               Documentation               Amount        Treble   Report                       Amount       Treble       Notes
                                                                                       on 9/11                                                        Substitutions                     Award                                     Report     Award
                                       Scott      Roy           Beloten                                               1:15-cv-09903, 53, at 3692
 1                                                                                   U.S.         NY          09903                                                                                         $        -                                         $            -
                                       Maria      E.            Castillo                                              1:15-cv-09903, 53, at 3790
 2                                                                                   U.S.         NY          09903                                                                                         $        -                                         $            -
                                       Anthony                  Ciarnella                                             1:15-cv-09903, 53, at 3801
 3                                                                                   U.S.         NY          09903                                                                                         $        -                                         $            -
                                       John                     Cretella                                              1:15-cv-09903, 53, at 3845
 4                                                                                   U.S.         NY          09903                                                                                         $        -                                         $            -
                                       James      J.            Csorny                                                1:15-cv-09903, 53, at 3852
 5                                                                                   U.S.         NY          09903                                                                                         $        -                                         $            -
                                       Hipolito                 D'Oleo                                                1:15-cv-09903, 53, at 3923
 6                                                                                   U.S.         NY          09903                                                                                         $        -                                         $            -
                                       Barbara    Ellen         Einzig                                                1:15-cv-09903, 53, at 3958
 7                                                                                   U.S.         NY          09903                                                                                         $        -                                         $            -
                                       Fausto     Antonio       Gomez                                                 1:15-cv-09903, 53, at 4063
 8                                                                                   U.S.         NY          09903                                                                                         $        -                                         $            -
                                       Thomas     Joseph        Grogan                                                1:15-cv-09903, 53, at 4084
 9                                                                                   U.S.         NY          09903                                                                                         $        -                                         $            -
                                       Vincent    J.            Panaro                                                1:15-cv-09903, 53, at 4548
10                                                                                   U.S.         NY          09903                                                                                         $        -                                         $            -
                                       Milcia     C.            Pena                                                  1:15-cv-09903, 53, at 4567
11                                                                                   U.S.         NY          09903                                                                                         $        -                                         $            -




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